Case 2:21-cv-03215-JMA-LGD Document 35 Filed 11/10/21 Page 1 of 32 PageID #: 270
                                                                                                             FILED
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                                                                                               6:28 pm, Nov 10, 2021
                                   UNITED STATES DISTRICT COURT
                                                                      U.S. DISTRICT COURT
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                                                                 EASTERN DISTRICT OF NEW YORK
                                    EASTERN DISTRICT OF NEW YORK      LONG ISLAND OFFICE
  Douglas C Palmer                                                                    Theodore Roosevelt Federal Courdlouse
  Clede of Couft                                                                         Emanuel Cellar Pedenl Courthouse
                                                                                                              225 Cadman Piasa Bue
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  Brenna Mahoney                                                                                                     (718) 613-2270
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                                                                                                                      (631)712-6000
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                                                                        Date: l \ \ \ O 2 J     Pio Sc: (6Sl)71z.6060
                                                                        Re: 2IC.Va21-S(JmA )C ~ JL)
  Dear pro II litigant:

  The enclosed     cJ C)( ( fYl0l-/: is being returned without docketing or considemtion for the following reason(s):
  ( )      The docket number and/ or judges' initials are mcouect or missing.

  ( )      Your signatme u required on all papen filed with the Court.

  ( )      These papers appear to be intended for another court or agency.

  ("1      Papen cannot be 61ed without indicating that they have been served on all parties in your action, or their
           attorneys. This office lllill tUJI forward copies of your papes:s to othe.t parties or their counsel An afmmation
           of service foan is enclosed.

  ()       Your papen do not meet the minimum requirements for.
           ( )    Leglmlity: please type or pdnt cleady.
           ( )    Language: only English is acceptable.
           ( )    Poan or Content: See forms/instmctiona enclosed.
           ( )    Please indicate the documents you served on yow: af6maation of service.
           ( )    Otbec

  ( )      nus Cow:t will only accept papers on 8 Ya by t t .. paper. Note that this does not include exbloits.
           Documents submitted for filing should be pnbopgd originals.                                  ·
  ( )      Documents submitted for filing should not include (social security number, bh:thdate, names of minor
           children, 6.nancial account number etc.)

 ( )       Pwsuapt to Local Civil Rule 5.1, discovery matedals are not filed with the Court except by Or~ of the
           Court.

 ( )       Yow: Notic;e a{.AN>eal has been processed, and your case is dosed. Your papers should be directed to:
           United States Court of Appeals for the Second Circuit Thmgood Marshall U. S. Courthouse,
                                   40 Foley Square, New York, NY 10007

 ( )       Our records indicate that you are represented by an attomey. & such, you may not file papers or
           communicate directly with the Court. Please refer this matter to your attomey.

 ( )       The Court cannot act on yom submission(a). To the extent that it is your intent to start a new action, or to
           &le a motion, please request the appropmte form(s) from ow: website or &om our office.

 C v)
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   MAGISTRATE JUDGE STEVEN I. LOCKE
   100 Federal Plaza
  Central Islip, NY 11722 Courtroom 820

   My wife and I are doing our best to meet the deadline of November
  30TH2021 (Case# 21-CV-3215) This was a replacement of Patricia Weiss
   with new Anthony LaPinta which is in review and should make the
   deadline on time.

   We are Handicapped in our workplace meeting federal A.D.A. Laws and
   in need of an office uses granted by the Southold Trustee's as allowed
   mobile home structure (under 400sq.) to be parked in a handicap space
   for human occupation of commercial lot for both ADA and OSHA Laws.

   NYS DEC under wetlands uses allowable uses in the protected wetlands

  Certificate of Occupancy issued under category *MARINA and rental
  and sales *LOT for boat and kayak rentals allowable uses

   Marina our commercial property purchased under preexisting uses of
  an eel farm and established bait and smoke shop store that's pre dates
  town zoning laws and dates back to early 1950s but also the 1600s
  allowable uses under Andros patent use law and recorded in the history
   books.

  The defendant insist on making my LOT VACANT and the court ordered
  2016 Pre CO useless, (see papers) I believe the defendants are having
  me jailed and arrested before federal trial date and my due process
  unfairly removed. If you can do anything it would be greatly
  appreciated, we are granted use by the trustees but town rejected.

  Thank you
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      Affirmation of testimony given
      By Frank J. Kell'f residing-at 12
                                   I



      Bayview Ave ~ast Islip N.Y. and
     along with a S4preme court
     order to have rl]le jailed exhibit
                                    I
     documents dated 10-12-21 is·
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     to be true to the best of my
                                    I




     knowledge and ithreats to my
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    handicap A.D.A LAWS in the
    workplace sinc~rely
    Frank J.KELLY
          ~ifo
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Case 2:21-cv-03215-JMA-LGD Document 35 Filed 11/10/21 Page 4 of 32 PageID #: 273




   This was ordered by the Supreme Court in 2016 as a remedy for the
   uses of office shelter as RV was 2014 approved but then denied by the
   trustees as a maybe but mobile home would be a better fit with septic
   tank removed and compost toilet would be more in line with the town
   board and building department requests they' d like to see (see permit)
                              T-orSoadtnh
                              53095MaRd
                              Sotdold, N - Yon 11971




                                          PRE EXISTING      20t1tMG~OF {'n
                                   CERTIFIC ATE O F OCCUPANCY      ~
     No :
            - -38052
                ---                                                                                Date:           1/14/2016

     THIS CERTIFIES tbal dae Rhldme(•) located at:                          1900 On:at Poc:onic Bay Blvd. Laurel
     SCTM #1 473889                    Sec/Block/Lo t:                 145. -4-3
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                    - - - - - - - - Flied M ap No.
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     APRIL 9. 1957          punwmt. to wbJcb CERTIFICATE O F O CCUPANCY h.JMDER b                                        38052

     dated       1/1412016        was issued and conform.s lo nil lhc n:quric:menta 1 ' the applicable rovj,,;0111 oflhc law.
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Case 2:21-cv-03215-JMA-LGD Document 35 Filed 11/10/21 Page 5 of 32 PageID #: 274




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       t. Qrtveway: 50 feet
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                                      New York State
                         Department of Environmental Conservation



                                 BRIAN R. FARRISH
                             Environmental Conservation Officer
                                   Region 1 Headquarters


             SUNY @ Stony Brook
             50 C ircle Road                                Tel: (631) 444-0250
             Stony Brook. NY 11790-3409                    Cell: (516) 351-8601
             VN.1w.dec.ny.gov                         Dispatch: 1-877-457-5680
                            E-mail: brfarris@gw.dec.state.ny.us
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                                        SCHEDULEA

        Current SCTM No.: 1000-145.00-04.00-003.000

        BECi.lNNlNG at a cm=n,te IOOOUl1Jellt set OD the southerly side of Pecoaic
        Bay BoWevant at the nmthwest ccmer of the fRDises heleiD described
        adjoining land now or fommy of 8. Mesrobian;

        RUNNING TIIF.NCB along said land of 8. ~ian South 24 deps JS
        oinutes F.ast 140.54 feet to a coocrcte monwnent;

        RUNNING llfENCE North 62 deg,= 06 ninutes F.ast to mean high water
        mark of the channel or Brushes Creek;

        RUNNING lHENCE in a oortheastaly din,ction ~ong the mean high water
        mute of Brushes Creek to the southerly side of Peconic Bay Boulevard;

        RUNNING 1HPNCE South 69 degrees 29 minutes West along the soahrly
        side of Pcconic Bay Boulevard to the IDOIUI.RDt and point of BEGINNING.

        TOGETHER with all the right, title and interest of the party of the fint part,
        in and to Peconic Bay BouJevard adjacent to said premises to the center line
        thereof.

        TOGETHER with an die right, title and ioteJtSt of lbe parties of the first part
        of. in and to land below high water milk and under the walen of Bnlshes
        Creek adjacent to said prenises.

        SAID premises contains a COlnne'Cial nmina.
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     SUPERVISOR RUSSELL: T here weren't a lot, there were some. Principally we
     have a fishing group that is basica lly comprised of residents from Riverhead
     and Southold. Now this fishing group in particular, tends to vo lunteer every
     year for the beach cleanups that we host, they have adopted beaches. And
     some of them, Riverhead offers guest passes to           e ou           sidents,
     Sout hold had never had a law that allowed us to ssue guest passe o the
     Riverhead residents. So this is sort of an effort at diplomacy to allo the
     guests of residents of this town the right to have their friends come f is with
     them • 8'-10-2010 §fg'q-2 Night fishing parking punti    A
                                                             ..:__J-=                   I
   THIS IS NOT A TOURIST CAMP, THIS IS AN ANDROS 1676 NYS
   PATENT LAW.

   A RIGHT TO ACCESS THE WATERWAY, YES WITH SOME FRIEND
   REJECTED BECAUSE ONLY GRANTED TO RIVERHEAD AND
   SOUTHOLD CITIZENS VIOLATION SEEN HERE.
   THIS IS MY TOWN BOARD PERMISSION GRANTED THROUGH
   ACCESS RIGHTS 1676 TO ALL LONG ISLANDERS
Case 2:21-cv-03215-JMA-LGD Document 35 Filed 11/10/21 Page 10 of 32 PageID #: 279




                                                    JAY B STAMBLER MO
                                                          uc: 135486
                                                        NPI: 1821029026




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Case 2:21-cv-03215-JMA-LGD Document 35 Filed 11/10/21 Page 12 of 32 PageID #: 281




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Case 2:21-cv-03215-JMA-LGD Document 35 Filed 11/10/21 Page 13 of 32 PageID #: 282




   We should not have been rejected three times as trailer permits f or
   night watchmen is a Dock Masters job and as far as a hardship needed
   as proof a A.D.A handicap uses fits the bill to a tee .
                                                      fFOL,t
                                                                             Town Hall, 53095 Main Road
       ELIZABETH A. NEVILLE, MMC
                                                                                    P.O. Box 11 79
             T OWN CLERK                                                      Southold, New York 1197 1
         RBGISTRAR OF VITAL STATISTICS                                            Fax (63 I) 765-6 145
              MARRIAGE OFFIOER                                                Te lephone (631) 765- 1800
        RECORDS MANAGEMENT OFFICER                                             www.southoldtownny.gov
       FRllEDOM OF INFORMATION OFF ICER


                                   OFFICE OF THE TOWN CLERK
                                             TOWN OF SOUTHOLD


                                                         June 11, 201 8

            Frank Kelly
            Century Utilities
            12 Bayview Avenue
            PO Box 430
            East Islip, NY 11730

            Dear Mr Kelly:

                   At the regular Town Board meeting held on June 5, 2018, the Town Board denied
            your application for a trailer penniL A certified copy of the resolution is enclosed.

                    Your trailer application fee is being returned to you. Thank you.

                                                         Very truly your§,




                                                         Lynda M Rudder
                                                         Deputy Town Clerk
             Ens.
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    * O.S.H.A. Health and safety department approved and required by Law
    1910 employee' s in the workplace. The Occupational Safety and Health Act of 1970
    created OSHA, which sets and enforces protective workplace safety and health standards.

    * A.D.A approved and required by Law.Americans with Disabilities Act
    (ADA) regulations for businesses and State and local governments MUST OBEY

    *Suffolk County Health department approved and required by Law

    *NYS DEC approved and required by Law

    * Trustee's did two inspections one 2-5-20 RV was a possible
    consideration second inspection passed due to compost toilet over
    septic tank system approved and required by Law.

    Southold Town denied first Judge luft's order 6-11-18 by the court for
    us to apply for DENIED with no remedy or reason issued and it' s not
    their jurisdiction but several permits rejected while many others
    including board members family approved with sleeping quarters and
    it' s a trailer permit without a trailer JAMES DINIZIO is this right?
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Case 2:21-cv-03215-JMA-LGD Document 35 Filed 11/10/21 Page 15 of 32 PageID #: 284




   THIS IS DISCRIMINATION AND DO TO COLOR OF OUR SKIN




   PLEASE HELP WE NEED SHELTER AND FISHERY
   STORE AND BATHROOMS AND ARE UNDER A
   CATEGORY * MARINA AND A COMMERCIAL
   * LOT THAT CAN'T BE VACANT 4,500 PERMITS
   ISSUED A YEAR & NO ONE IS DENIED ACCEPT
   FOR LUFT 2018 VERDICT NOT THE Ml LAW
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    This Peconic Avenue {Premises) is not my property, however Google
    Maps shows it's not even near any body of water it is also apparently
    clear that the town board (plaintiff) released a Ml (min.lS0'xlS0') but
    sadly less than a quarter acre. Zoned M-1 again the (Premises) are in a
    residential area but sadly the judge doesn't realize the Ml is a
    residential zone and faulting me instead of plaintiffs.

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                ORDERED. lhal. in accord:mc:e with Southold Town Code Section 230-11 S, no 1inaJc
         automob Jc 1.r.tikr or bowic car may be loaned on the Pre-mises unless uuthoriZJCd by the
         Soulhold Town Board 01'ld subJCci lO sud\ c ndtliON u may be pre.cribed by Southold To\\-'11
         Roi.rd




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    1900 Great Peconic Bay Blvd Laurel cannot locate a town board
    vote on record leaving us to believe we were fraudulently granting
    a zone that can't be house built and reduced to a trailer by the
    plaintiffs and their private hire which out funded us to steal
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   Certificate of Occupancy for Preexisting in a 1983 M1 doesn't make any
   kind of sense but judges Tarantino/Luft/ and now Linda Kevins believes tpis
   is the remedy for us to follow as we did as we are told total trust.
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Case 2:21-cv-03215-JMA-LGD Document 35 Filed 11/10/21 Page 18 of 32 PageID #: 287




    Dan Ross my attorney saw to it that line #6 ALL THINGS M1 OFFERS

    Which includes fishery, a store and office uses and over night guess.


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Case 2:21-cv-03215-JMA-LGD Document 35 Filed 11/10/21 Page 19 of 32 PageID #: 288




   Dan claims this document can't be legal but it is a Supreme Court order that the to n
   board which Dan voted on 1992 NO C.O.s on vacant lots somehow is granted by G~ry
   Fish who decided to leave out the entire bottom half of inspections as N/A? REALLY




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   Category MARINA is important as well as a LOT which is covered unde
   NYS Building codes as what to be on site and covered by off street
   parking 280-78/79 mobile home parking off street accessory uses
Case 2:21-cv-03215-JMA-LGD Document 35 Filed 11/10/21 Page 20 of 32 PageID #: 289




    USES AS A TOURIST CAMP: never convicted of such an offense only a parking
    violation of a handicap trailer to provide basic human needs of ADA & OSHA Labor
    laws which is legal by the lower court however Judge Lufts orders was .... if ... I was
    to operate a tourist camp I must file with the town board permission first.
    I never was or will be a tourist camp Andros patent law and combined with NYS
    DEC wetlands commercial usage ARTICLE 25, - 6NYCRR PART 661 require
    overnight stay to provide pump out station on Ml property and I have four
    portable stations and a DEC License to operate.

    Brooklyn appeals court granted a hearing to dismiss all of recusal Judge Powers
    sentencing fines of 184,000.00 done in June of 2021 but many things are written
    in Judge Kevin 's writings but many are false information supplied by the plaintiffs

    Most of my problem is my purchased a property that was defective and was a
    good o boys back room deal and we feel we were robbed of our retirement funds
    and cannot locate a vote on this lot .



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      -ailura by pl~intiffs to COMply to th& code.                                                                                        ~
Case 2:21-cv-03215-JMA-LGD Document 35 Filed 11/10/21 Page 21 of 32 PageID #: 290




   Town of Southold, NY/ Pa-111, General Legislation
   Chapter 189 Parking (J)                                                       1
                                       1




   Night fishing parking permit. For t~e purpose of ensuring fishermen and s ell
   fishermen parking access to the beaches, creeks and waters within he
                                       I
   Town of Southold when such parking access is normally closed (10:00 p m.
                                                                            1
   to 6:00 a.m.), the following exceptifn to§ 189-2G is hereby created:

   (1) Night fishing parking permit.   ,                                       :
   A night fishing parking permit shalllbe issued by the Town Clerk or a person
   designated by the Town Clerk to aI I persons who hold a resident, lessee: r
   guest parking permit.                   i
                                           1



                                                                                 :


   (2) Any motor vehicle having a ni~ht fishing parking permit shall be deem :
   not to be in violation of§ 189-2G o~ § 189-31 where both the night fishing .
   permit and the resident, lessee or QUest parking permit are properly display · d.
                                               I




   (3) The following rules and regulatibns apply:
                                               I




   (a) At the time a motor vehicle with! a night fishing permit is parked at a
   location during a time in which par~ing is normally prohibited by § 189-2G a. d
   § 189-31, the occupants of the vehi9le must have fishing equipment and b,
   actively engaged in fishing.                    I                                 :


    The permit is nontransferable and valid only for vehicles bearing the licens '
   plate number on the permit.           I
   (b) Fees. There shall be no annual fee for night fishing permits.
   (c) Duration of permits. All night fis~ing
                                          I
                                              permits provided for in this section
   shall expire at the same time as thElresident, lessee or guest parking permit;
   (4) Other regulations. Persons using parking areas pursuant to the provision·
   of this section shall comply with all other laws, ordinances, rules, regulation$
   and restrictions thereto.              I                                        !
Case 2:21-cv-03215-JMA-LGD Document 35 Filed 11/10/21 Page 22 of 32 PageID #: 291




    NIGHT FISHING PERMITS FROM 2014-2019 IN WINDOWS

    This is Andros patent water way under that law all persons with
    in New Jersey to Maine have the right to fish Southold 1647 water
    way and have access hunting & fishing .Everyone on site carried
    a town permit and was fishing a M1 zone with septic station with
    overnight guess stay which is legal use of a commercial lot NO
    WORD MENTION IN SUPREME COURT ORDERS handed down
    with a jail sentence attached claiming Supreme Court writes the
    law as it seems fit instead of following the Law as given to others
    but not to my kind due to location and skin color deemed a tourist

    I appreciate your time reading this mess at least Supreme Court
    should hear Federal case due to many orders handed down were
    determined to be not the law at all but a idea for a remedy that
    doesn't work. Love your help in this matter some of it is criminal I
    should have Anthony La Pinta on board soon

    I NEVER MET JUDGE LUFT OR JUDGE KEVINS IN MY LIFE?

    Thank you
Case 2:21-cv-03215-JMA-LGD Document 35 Filed 11/10/21 Page 23 of 32 PageID #: 292


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     SUPREME COURT OF THE STATE OF NEW YORK
                                                                             *
                                                               Index No. 015142/20
                                                                                      N       2021'*
     COUNTY OF SUFFOLK-                                                       LONG ISLAND OFFICE
                                       --------X
     TOWN OF SOUTHOLD,
                                                               ORDER WITH
                          Plaintiff,                           NOTICE OF ENTRY

           -against-

     Fl~ANK KELLY and ELIZABETH KELLY,

                          Defendants.
     -----------------X
           TAKE NOTICE, annexed hereto please find a true copy of the Order in the above-

    captioned action dated October 12, 2021 and entered October 25, 2021.

           TAKE FURTHER NOTICE, among other things, the annexed Order directs that

    "defendants shall, within 10 days from receipt of a copy of this Decision and Order, remove all

    property consistent with the Order and promptly file proof of same with the Court." This Order

    was "Received: I 0/25/2021" on the NYSCEF e-filing system, with Defendant's counsel's service

    email identified as "attorneyhom@optonline.net."



       Dated: October 29, 2021                 Yours,
                                               DEVITT SPELLMAN BARRETT, LLP

                                               Isl Scott Kreppein

                                               By: Scott J. Kreppein
                                               50 Route 111, Ste 314
                                               Smithtown, NY 11787
                                               (631) 724-8833
                                               S.Kreppein({v.DevittSpellmanLaw.com
                                               Attorneys for Plaintiff
    Case 2:21-cv-03215-JMA-LGD Document 35 Filed 11/10/21 Page 24 of 32 PageID #: 293                                                              'T   ..   ,.


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IFILEI>: SUFFOLK COUNTY CLERK 10/25/2021 02:16 PM)                                                                 INDEX N0.1015142/2015
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       SHORT FORM ORDER
                                                                                             INDEX No.   015142/2015
                                                                                             CAL. No.



                                        SUPREME COURrf - STATE OF NEW YORK
                                           I.A.S. PART 29- SUFFOLK COUNTY
                                                                     I




       PRESENT:
                                                                                             MOTION SUBMIT DATE: 06/01/21
               HON. LINDA KEVINS                                                             MOT. SEQ. # 005 - MG
             Justice ofthe Supreme Court



                        _____________:____ x
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       TOWN OF SOUTHOLD,
                                                 Plaintiff,


                          - against -



       FRANK J. KELLY, ELIZABETH B. KELLY.

                                                 Defendants.

      -------------------------------X .                                     I




                 Upon the following papers e-filed and read on this moiion to punish in contem~t: Order to Show Cause and supporting pa ! rs   ~
      plaintiff, dated March 9, 2021; Answering Affidavits and supporting papers by defendants. dated April 5. 2021; Replying Affidavi · and
      supporting papers by ptaintifI. dated April 6 2021; Other__; (aed after heMieg eeuesel in suppeft &Rd eppesed le Ike mefiee) it is, '

             ORDERED that plaintifrs motion for an brder adjudicating and punishing defendants for civil
      and criminal contempt based upon their failure to(comply with the Court's March 21, 2018 Injunction
      Order (Luft, J.), is granted; and it is further

               ORDERED, ADJUDGED AND DECREED that defendant Frank Kelly and defendant Elizab th
                                                                                 I                                                     ,




       Kelly are in civil contempt and criminal contempt of court for having willfully disobeyed the Court's                           1



     · March 21, 2018 Injunction Order (Luft, J.) in that[ defendants have willfully continued to use the preml es
       located at 1900 Peconic Bay Boulevard, Laurel, }'few York as a tourist camp and recreational vehicle~ rk
       without obtaining approval from the Town of Southold and without obtaining_ a certificate of occupanq                               I
       or permit, and did so in contravention of the Courf's March 21, 2018 Injunction Order (Luft, J.), ands ch
       acts did defeat, impair impede and prejudice plainrff; and it is further            .


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        NYSCEF TCSWN lj~ soffi°HOLD V KELLy                                                      RECEIVED NYSCEF: 10/25/2021
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                        ORDERED ADJUDGED AND DECREED that such misconduct of defendants constitutes civil
               contempt since they failed to obey a lawful judicial order, specifically, the Court's March 21, 2018
               Injunction Order (Luft, J.), which was within their power to comply with and such disobedience was
               calculated to and actually did defeat, impair, impede and prejudice the rights and remedies of plaintiff;
               and it is further

                       ORDERED that with respect to both the criminal and civil contempt adjudications, defendants are
               ordered to comply with the Court's March 21, 2018 Injunction Order (Luft, J.), including that defendants
               shall, within 10 days from receipt of a copy of this Decision and Order, remove all property consistent
               with the Order and promptly file proof of same with the Court; and it is further

                        ORDERED that with respect to the civil contempt adjudication, upon the failure of defendants to
               remove the recreational vehicles, travel trailers, automobile trailers, house cars and tents used for living
               quarters and/or overnight sleeping purposes as delineated in the Court's March 21, 2018 Injunction Order
               (Luft, J.), within IO days from receipt of a copy of this Decision and Order, then, at defendants' expense,
               and upon confirmation that such vehicles and other property are owned by defendants, the plaintiff, and
               any agents acting on its behalf, are authorized, with 24 hours-notice to defendants, to enter the property
               and remove same within 20 days of defendants' failure to remove same, and plaintiff will ·be entitled to
               recover all costs and expenses incurred for the removal which may constitute its actual loss recoverable
               p1:1rsuant to Judiciary Law§ 773; and it is further

                       ORDERED that if the recreational vehicles, travel trailers, automobile trailers, house cars and
               tents used for living quarters and/or overnight sleeping purposes as delineated in the Court's March 21,
               2018 Injunction Order (Luft, J.) are owned by third parties, then the plaintiff must provide such nonparty
               owners with 30 days-notice to either remove the vehicles themselves or plaintiff shall remove them and
               such costs for removal shall be paid by the defendants as set forth herein; and it is further

                       ORDERED that with respect to the civil contempt adjudication, plaintiffs shall file with the Court
               and provide defendants with a list itemizing all of the costs associated with removal of the items
               delineated in the Court's March.21, 2018 Injunction Order (Luft, J.), within 10 days of such removal, and
               such list shall be accompanied by an attorney's affirmation, representing that the costs stated were actually
               incurred in connection with such removal and defendants shall have IO days from receipt of same to pay
               plaintiff such costs; and it is further

                       ORDERED that if such costs are not paid as ordered herein, upon proof of nonpayment, defendant
               Frank Kelly and defendant Elizabeth Kelly shall be imprisoned until the costs are paid, which duration
               may be up to six months pursuant to Judiciary Law § 774, and upon such nonpayment plaintiff shall make
               a prompt application to this Court for a warrant directing the_sheriff of any county of the State of New
               York to seize and arrest defendant Frank Kelly and defendant Elizabeth Kelly forthwith and bring them
               before this Court to be committed or for such further disposition as the Court directs; and it is further .

                         ORDERED that in the event that defendants remove such items themselves, then defendant Frank
               Kelly and defendant Elizabeth Kelly are each fined $250.00 for civil contempt plus costs and expenses
               which shall be payable to plaintiff, pursuant to Judiciary Law § 773, within IO days from receipt of a copy
               of this Decision and Order and defendants shall promptly file proof of such payment with the Court; and
               it is further


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             ORDERED that if such fines ate not pai~ as ordered herein, upon proof of nonpayment, defe_ dant
     Frank Kelly and defendant Elizabeth Kelly shall be imprisoned until the fines are paid, which durati ' n
     may be up to six months pursuant to Judiciary Liaw
                                                      I
                                                          § 774 and upon such nonpayment plaintiff shall ' ake
     a prompt application to this Court for a warrant directing the sheriff of any county of the State of Ne·
     York to seize and arrest defendant Frank Kelly ~nd defendant Elizabeth Kelly forthwith and bring th: m
     before this Court to be committed or for such further disposition as the Court directs; and it is furthe~
                                                       I                                                      i
            ORDERED ADJUDGED AND DEC~ED that defendant Frank Kelly and defendant Eliza ;eth
     Kelly are adjudged to be in criminal contempt pursuant to Judiciary Law§ 750 (3), for their willful ;
     disobedience of the Court's March 21, 2018 Inj~nction Order (Luft, J); and it is further            ;

             ORDERED ADJUDGED AND DEC~ED that, as this adjudication of guilt is imposed und r
     the Judiciary Law and not the Penal Law, defendant Frank Kelly and defendant Elizabeth Kelly shal1 1 e
     permitted to purge them.selves of the contempt b~ promptly complying with the Court's March 21, 2 18
     Injunction Order (Luft, J.); and it is further        1

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                                                           I                                            i
             ORDERED that defendant Frank Kelly and defendant Elizabeth Kelly shall appear with coun' el
                                                               I                                                  '




     before the Court in IAS Part 29, located at the A~an D. Oshrin Courthouse, One Court Street, Riverh d,
     New York 11901, on February 17, 2022 at 9:30 a.m. to be sentenced upon their conviction and
     adjudication of criminal contempt as decided he~ein; and it is further

            ORDERED that, upon failure of defendaht Frank Kelly and/or defendant Elizabeth Kelly to
     appear as stated above, a warrant will be issued for the arrest of the non-appearing defendant(s); and l is
     fu~~                                                          I                                        i


             ORDERED 'that plaintiff is directed to prbmptiy serve upon the Suffolk County Clerk, notice !
     pursuant to CPLR § 8019 [c] together with a copy of this Order and payment of any required fees; an it
     is further                                                        1

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             ORDERED that upon Entry of this Order, plaintiff is directed to promptly serve a copy of this
     Order with Notice of Entry upon defendant Fran4 Kelly and defendant Elizabeth Kelly by personal i
     service pursuant to CPLR § 308 and to promptly file the affidavits of service with the Clerk of the co· rt.
                                                                       I                                              I
              This action was commenced in August 291 s by plaintiff Town of Southold for an injunction
     directing defendants to comply with the Town Code of the Town of Southold by maintaining their
     property under the direction of the town ordinances, namely, by obtaining a certificate of occupancy a'. d
     permits or other town approval before using the dremises known as 1900 Peconic Bay Boulevard, La . el,
     Town of Southold, County of Suffolk, New Yorkr for parking and using recreational vehicles, travel
     trailers, and tents for living quarters, and for allowing and/or permitting the subject premises to be util zed
     as an operable marina. Subsequent to the commercement of this action, defendants use of the .prope as
     a marina was approved. Plaintiff alleges that defendants are in violation of various sections ofChapt~
     253 of the Town Code of the Town of Southold r~garding prohibitions of use as a campground. By t ·
     undersigned's February 3, 2021 Decision and Order, plaintiffs previous motion for•an order adjudica ng
     and punishing defendant Frank Kelly and defend~nt Elizabeth Kelly in civil and criminal contempt w
     denied due to improper service.
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                  Plaintiff now renews its motion for an order adjudicating and punishing both defendants for civil
         and criminal contempts, among other things, based upon their alleged failure to comply with the Court's
         March 21, 2018 Injunction Order (Luft, J.). Such Decision and Order denied defendants' motion for
         summary judgment, and granted summary judgment to the Town of Southold awarding them "a
         permanent injunction ... enjoining the defendants and their employees, agents, servants, representatives,
         tenants, lessees and all other persons acting on their behalf or in concert with them from operating a
         Tourist Camp and/or Recreational Vehicle Park, as those terms are defined and regulated in Chapter 253
         of the Code of the Town of Southold, including but not limited to, parking, and/or using recreational
         vehicles, travel trailers automobile trailers, house cars and tents for living quarters and/or overnight
         sleeping puq>oses on the property located at 1900 Peconic Avenue ("Premises") unless and until such
         time as all necessary certificates of occupancy, permits and/or approvals from the Town for such use are
         obtained from the Town of Southold."

                 Plaintiff alleges that defendants were personally served with the Court's March 21, 2018
         Injunction Order (Luft, J.), on April 3, 2018, that the defendants applied for a permit, but it was denied in
         June 2018, and that defendants continue to violate the Town Code and the Court's March 21, 2018
         Injunction Order (Luft, J). Proof of service of this motion is submitted and defendants have submitted
         papers in opposition.

                 An application to punish for both civil and criminal contempt is governed by Article 19 of the
         Judiciary Law. The same act may constitute both civil and criminal contempt (Town of Copake v 13
         Lackawanna Props., LLC, 73 AD3d 1308, 900 NYS2d 508 [3d Dept 201 O]).

                 With respect to civil contempt, pursuant to Judiciary Law§ 756, the application is determined as
         with any other motion, and it may be initiated by notice of motion or order to show cause unless it is
         against a nonparty. To prevail on a motion for civil contempt, the movant must demonstrate by clear and
         convincing evidence (Abizadeh v Abizade/1, 190 AD3d- 797, 136 NYS3d 772 [2d Dept 2021 ]; Bennet v
         Liberty Lines Tr., Inc., 106 AD3d 1038, 967 NYS2d 390 [2d Dept 2013]; Massimi v Massimi, 56 AD3d
         624, 869 NYS2d 558 [2d Dept 2008]) that the party to be held in contempt disobeyed "a lawful judicial
         order expressing an unequivocal mandate" (EI-Dehdan v El-Dehdan, 26 NY3d 19, 29, 19 NYS3d 475
         [2015]). Furthermore, the party disobeying the order must have had knowledge of the order and its terms,
         and the movant must be prejudiced by the offending conduct (McCain vD/nkins, 84 NY2d 216,616
         NYS2d 335 [1994]; Weiss v Rosenthal, 195 AD3d 730, 150 NYS3d 284 [2d Dept 2021 ]). It is not
         necessary that the disobedience be deliberate or willful, as the mere act of disobeying is sufficient if such
         disobedience defeats, impairs, impedes or prejudices the rights of a party (Bals Yoe/ Ohel Feige v
         Congregation Yetev D'Satmar ofKiryas Joel, Inc., 78 AD3d 626, 910 NYS2d 174 [2d Dept 20101).

                 Once a movant satisfies the burden, the burden shifts to the offender to offer evidence in defense
         such as the inability to comply with the order (El-Dehdan v El-Dehdan, 26 NY3d 19, 19 NYS3d 4 75;
         Matter of Weiss v Rosenthal, 195 AD3d 730, 150 NYS3d 284; Union Temple ofBrooklyn v Seventeen
         Dev., LLC, 162 AD3d 772, 79 NYS3d 194 [2d Dept 2018]). In the absence of factual evidence sufficient
         to refute the movant's demonstration of contempt, no hearing is required, and the matter may be
         summarily detef!11ined (Judiciary Law § 772; CPLR § 2218; Gomes v Gomes, 106 AD3d 868, 965
         NYS2d 187 [2d Dept2013]; Town ofHuntington vReuschenberg, 70 AD3d 814,893 NYS2d 638 [2d
         Dept 201 O]; Kluge v Walter B. Cooke, Inc., 112 AD2d 230, 491 NYS3d 446 [2d Dept 1985]; Quantum
         Heating Servs., Inc. v Austern, 100 AD2d 843,474 NYS2d 81 [2d Dept 1984]).                        ·



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               In support of its application, plaintiff submits the affidavits of Lester Baylinson and John Bu. ke.
       In his affidavit, Baylinson states that he works ~s an ordinance inspector for the Town of Southold, d
       that prior to this position, he worked in the code enforcement department. He states that his
       responsibilities include responding to complain~s, conducting investigations and issuing citations for
       violations of the Town Code. Baylinson states that he inspected the subject property on several occ . ions
       between May 2018 and May 2019, and that he dbserved the property being utilized as a campgroun~ by
       the housing of recreational vehicles and trailers.\ Baylinson avers that he issued several citations reg; rding
       same to defendant Frank Kelly between May 20:18 and May 2019 for over 20 violations of the Townl
       Code of which d~fendant Frank Kelly was ultim;ately convicted after trial in September 2019 by the ·
       Southold Town Justice Court (Hughes, J). Baylinson states that he inspected the property again in
       January 2020 and observed recreational vehicle~, trailers and campers on the subject property. A co y of
       the Town ofSouthold's resolution adopted on J~ne 6, 2018 is submitted indicating that defendants'
       application for a permit was denied, thus, given all of the above, establishes that defendants did not
       comply with the Court's March 21, 2018 Injunction Order (Luft, J.).
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                An affidavit by John Burke is submitted. I Burke states that he is an assistant town attorney fo the
       Town of Southold, and that he visited the subject premises on August 10, 2020. He states that he
       observed a residential structure at the subject premises that was being prepared for installation, and t t he
                                                                                                                I
       observed a number of other recreational vehicles and trailers used for living purposes which do not h ve
                                                                1




       certificates of occupancy or other permits. Burke states that Frank Kelly was on the subject premisesi
       supervising the installation, and that Frank Kelly indicated that he was aware of the prohibition again t
       the installation of the structure and the presence ~f the other vehicles and trailers. Burke states that F ank
       Kelly told him he had no intention of complying with the Supreme Courts' Orders.
                                                                    1




               Here, the Town has demonstrated, by cle,r and convincing evidence, that defendants violated: he
       Court's March 21, 2018 Injunction Order (Luft, J.) by failing to remove the items delineated in such :       1
       Order and by failing to obtain the requisite permits, certificates of occupancy and/or approvals. The
       Order is clear and unequivocal, and defendants hrd knowledge of the Order. Furthermore, defendant '
       violation did defeat, impair, impede and prejudice plaintiffs' rights and remedies (see Town Bd. o/1: n
       ofSouthampton v R.K.B. Realty, LLC, 91 AD3d 628,936 NYS2d 228 [2d Dept 2012]; Town of
       Brookhaven v Mascia, 38 AD3d 758, 833 NYS2r 519 [2d Dept 2007]).

                It is worth noting that the defendants wer; previously held in civil contempt by the Court's ·•
       October 26, 2016 Order (Tarantino, J.) based upo~ the defendants' failure to comply with the Court's:
       September IO, 2015 Order (Tarantino, J.), which also prohibited defendants from using the premises , a
       trailer camp and/or a recreational vehicle park. ~dditionally, the Court notes that in a related action
       commenced in August 2020 under Index no. 611268/2020, this Court issued a similar injunction by it
       March 29, 2021 Order enjoining defendants from[violating the same provisions of the Town Code of , e
       Town of Southold by enjoining defendants from '~keeping, storing, erecting, housing and/or placing
       structures, vehicles and trailers on the real propetiy owned by them located at 1900 Peconic Bay         ·
       Boulevard, Laurel, New York in the Town of Southold, County of Suffolk, which lack necessary per its,
       approvals and certificates of occupancy unless an~ until such time as defendants have obtained all
       necessary approvals from t_he Town of Southold."[ Defendants appealed such Order and the Appellat~
       Division, by its June 4, 2021 Order, denied defendants' motion to stay enforcement of such injunction
       Order pending the appeal.                            I




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                     Significantly, here, defendants do not asse~ their inability to comply with the Court's March 21,
            2018 Injunction Order (Luft, J.). The crux of defendants' arguments in opposition are impermissible
            collateral attacks upon the Judgment of Conviction from the Southold Town Justice Court (Hughes, J.)
            convicting defendant Frank Kelly of violating the Town Code and upon the Court's March 21, 2018
            Injunction Order (Luft, J .) granting plaintiff a permanent injunction (see Matter of Rubin Films LLC v
            Kaul, 175 AD3d 419, 104 NYS3d 541 [ Ist Dept 2019]; Board ofDirectors of Windsor Owners Corp. v
            Platt, 148 AD3d 645, 49 NYS3d 293 [ l st Dept 2017], lv dismissed 30 NY3d 986, 66 NYS3d 213 (2017]).
            However, although not demonstrated here, the only sufficient grounds to challenge an order underlying a
            contempt proceeding are that the court which entered it was without jurisdiction or the order has been
            stayed (id).

                     Here, it is undisputed that the Court had jurisdiction to grant a permanent injunction.
             Furthermore, the Court's March 21, 2018 Injunction Order (Luft, J.) was not stayed, and it is still in
             effect. Although defendants have appealed the Judgment of Conviction from the Southold Town Justice
             Court (Hughes, J.), there is no stay of that matter. Consequently, there is nothing in defendants'.
             opposition which warrants a hearing or denial of the instant motion (see Matter of Vernon D. (Tarah F.},
             119 AD3d 784,989 NYS2d 334 (2d Dept 2014]; Matter ofPeople vHooks, 64 AD3d 1075, 883 NYS2d
             378 [3d Dept 2009]; Garbitel/i v Broyles, 257 AD2d 621,684 NYS2d 292 [2d Dept 1999]).

                    Given all of the above, and defendants having failed to assert their inability to comply with the
             Court's March 21, 2018 Injunction Order (Luft, J.), or that the Court did not have jurisdiction to enter
             such Order, plaintiffs motion for an order adjudging and punishing defendant Frank Kelly and defendant
             Elizabeth Kelly for civil contempt is granted.

                    The penalty to be imposed for a civil contempt is remedial in nature and is designed to compensate
            the complainant, not to punish the offender (Town Board of Town ofSouthampton v R.K.B. Realty,
            LLC, 91 AD3d 628, 936 NYS2d 228 [2d Dept 2012]). Pursuant to Judiciary Law§ 773, fines may be
            awarded in two situations: When actual 9amage results from the offender's acts, a fine may be imposed
            in an amount sufficient to indemnify the aggrieved party, and where the complainant's rights have been
            prejudiced but an actual loss cannot be established. In the latter situation, the fine is limited to $250.00,
            plus the complainant's costs and expenses (Judiciary Law § 773; Matter of Ferrante v Stanford, 172
            AD3d 31, 100 NYS3d 44 [2d Dept 20191).

                    Pursuant to Judiciary Law § 774, where a fine has been imposed as a penalty for civil contempt
            either for actual loss or as indemnity, payment may be enforced by imprisonment (Wides v Wides, 96
            AD2d 592, 465 NYS2d 285 [2d Dept 1983]; Ditomasso v Loverro, 242 AD 190, 273 NYS 76 [2d Dept
            1934]). The statute provides, in pertinent part: "Where the misconduct proved consists of an omission to
            perform an act or duty which is yet in the power of the offender to perform, he shall be imprisoned only
            until he has performed it and paid the fine imposed." However, imprisonment cannot exceed six months.

                     With respect to criminal contempt, pursuant to Judiciary Law § 750 (3), the court has the power to
             punish for criminal contempt a person guilty of, among other acts, willful disobedience of its lawful
             mandate. The difference between civil contempt and criminal contempt is willfulness, and the standard of
             proof. With respect to criminal contempt, defendants must be found guilty beyond a reasonable doubt of
             willfully violating an order, and such willful disobedience is an essential element of criminal contempt.
             Willfulness may be inferred from knowingly failing to comply with a court order. However, such



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    inference may be rebutted with evidence of goo~ cause for noncompliance (Matter of Figueroa-Roli n v
    Torres, 121 AD3d 684, 993 NYS2d 348 [2d Dept 20141).

            A violation of an iajunction constitutes Jriminal contempt where such violation is willful (se
    Casaveccl,ia v Mizrahi, 57 AD3d 702, 869 NY~2d 864 [2d Dept 2008]). Where the application is t,
    punish for a violation of an injunction, "the act complained of must be clearly embraced within the
    inhibited acts" (Howard S. Tierney, Inc. v Jambs, 269 AD 348,354, 56 NY:S2d 8 [1st Dept 1945]; .s, e
    also Venables v Rovegno, 195 AD3d 879, 135 l'r'YS3d 834[2d Dept 2021]; City Wide Sewer & Drai
    Serv. Corp. v Carusone, 39 AD3d 687, 834 NYS2d 283 [2d Dept 2007]). Where a clear and unequi · ocal
    order issued by a court
                         •
                            with jurisdiction is in effect
                                                       I
                                                           and a contemnor has knowledge of it, a violation I. f
    such order must be interpreted to be willful (Matter of Figueroa-Rolon v Torres, 121 AD3d 684, 99
    NYS2d 348).                                         I




                                                            I




            Here, plaintiff has established that defendants committed criminal contempt beyond a reason le
    doubt by willfully failing to comply with the.Co~rt's March 21, 2018 Injunction Order (Luft, J.). Th
    Order clearly defined the acts which defendants were obliged to perform, and defendants were well a· are
    of the Order. Through the affidavit of the Town! inspector and affirmation by the assistant town atto · ey
    who both visited the property and observed recreational vehicles during the relevant time period, plai' tiff
    has submitted sufficient proof that defendants did not remove the recreational vehicles, and therefore; did
    not comply with the Court's March 21, 2018 Injunction Order (Luft, J.). Additionally, defendant Fra• k
    Kelly w~s convicted aftertrial of utilizing the pr~perty as a campground during that same relevant pe iod.
    Such issues were resolved under the most string~nt standard of proof (beyond a reasonable doubt) an .
    provide sufficient proof (see People v Aguilera, 82 NY2d 23, 603 NYS2d 392 [1993]) that defendant1 as
    using the recreational vehicles for living quarters! or sleeping purposes in violation of the Court's Ma . h
    21, 2018 Injunction Order (Luft, J.). The doctrine of collateral estoppel may be invoked in a civil acti n
    when the prior proceeding is a criminal proceediqg and the defendant was convicted based upon facts;
    identical to those in the civil action (Bazazian v Logatto, 299 AD2d 433, 749 NYS2d 537 [2d Dept
    2002]).                                             I
                                                                I
            "Due process requires that an evidentiary hearing be held to resolve conflicting claims before •ne
    can be adjudged in contempt" (Barreca v Barrecf, 77 AD2d 793, 430 NYS2d 739 [4th Dept 1980]). ,
    Where a defense is raised in an affidavit, a hearing is required as the requisite willfulness conduct oft. e
    contemnor cannot be ascertained without a hearing. Here, defendants have failed to refute plaintifr s ;
    allegations or provide evidence of good cause for'1noncompliance, and therefore, no hearing is necess ·
    and defendant Frank Kelly and defendant Elizabeth Kelly are adjudged to be in criminal contempt
    (Matt~r ofPeople v Hooks, 64 AD3d 1075, 883 NI. YS2d 378; Garbitelli v Broyles, 251 AD2d 621, 68.
    NYS2d 292; Guiliano v Carlisle, 236 AD2d 364, 653 NYS2d 635 [2d Dept 19971).                              .
                                                                I
             For criminal contempt, the penalties are p~nitive with the purpose of deterring the contemnor
    (State v Unique Ideas, Inc., 44 NY2d 345, 405 NjYS2d 656 (19781). The maximum fine is $1,000.00 nd
    imprisonment ofup to 30 days is authorized (Judiciary Law§ 751). The continuing nature of the
    violation may be considered and a fine may be im~osed for every day that the contempt persists (Orch' rd
    Park Cent. Sch. Dist. v Orchard Park Teachers 1ssn., 50 AD2d 462,378 NYS2d 511 [4th Dept 197~ ).

            Upon the adjudication of criminal contem~t, defendant Frank Kelly and defendant Elizabeth K lly
    shall appear for sentencing as ordered herein, and shall be permitted to purge themselves of the crimin I
                                                                    1




    contempt by promptly complying with the Court'~ March 21, 2018 Injunction Order (Luft, J.) (see Jo s


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       vMcKanic, 160 AD2d 870,554 NYS2d 303[2d Dept 1990]; Silverstein vA/drich, 16 AD2d 911,76
       AD2d 911 [2d Dept 1980]; Ferrara v Hynes, 63 AD2d 675, 404 NYS2d 674 (2d Dept 1978]; Trice v
       Ciuros, 127 Misc2d 289, 485 NYS2d 689 [Sup Ct, Onondaga County 1985]; Matter ofMayyhew, 33
       Misc3d 1222(A), 943 NYS2d 792 [Westchester County Ct 2011]).

              Anything not specifically granted herein is hereby denied.

              The foregoing constitutes the decision and Order of the Court.




                                                            LINDA KEVINS, JSC
       Dated: 10/12/21

                           FINAL DISPOSITION      _X_ NON-FINAL DISPOSITION




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                                       Affirmation ofService
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           SCOTTJ. KREPPEIN, an attomeyiduly admitted to practice before the Courts of the
       State of New York, affirms the followihg under penalty of perjury:
                                           I


                                           I




       On October 29, 2021, I duly served th~ within ORDER WITH NOTICE OF ENTRY via
       NYSCEF service pursuant to 22 NYCRR 202.S-b(f)(2) and 202.5-bb(c) upon counsel for
       Defendants Frank Kelly and Elizabeth ,Kelly, whose designated service email is
       attorneyhorn@opton Iine. net


       Dated: October 29, 2021
                                               Respectfully submitted,
                                               DEVITT SPELLMAN BARRETT, LLP

                                               Isl Scott Kreppein

                                               By: Scott J. Kreppein
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